Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 1of8

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,’ Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Hearing Date: December 11, 2017 at 10:00 a.m.
Objection Deadline: November 30, 2017 at 4:00 p.m.

MOTION OF THE REORGANIZED TCEH DEBTORS
FOR ENTRY OF AN ORDER ENFORCING THE OCTOBER 3, 2017 ORDER

The reorganized debtors formerly known as the TCEH Debtors (the “Reorganized TCEH

Debtors”) file this motion (“Motion”) for entry of an order, substantially in the form attached as

Exhibit A (the “Order’’) (a) finding plaintiff Vance Dotson (“Plaintiff”) in civil contempt of this

Court’s Order Enforcing the TCEH Confirmation Order, entered October 3, 2017 [D.1. 12000]

(the “Enforcement Order”) and (b) directing Plaintiff to pay the Reorganized TCEH Debtors an

award for Plaintiffs civil contempt and/or for a portion of the Reorganized TCEH Debtors’ costs
and attorneys’ fees incurred in connection with this matter—both amounts to be determined by

the Court in its discretion and, if requested, after an in camera review of the relevant

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the debtors’ claims and
noticing agent at http://www.efhcaseinfo.com.

* Capitalized terms used but not defined here shall have the meanings ascribed in the Third
Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et al, Pursuant to Chapter [1
of the Bankruptcy Code, dated August 29, 2016 [D.] 9421-1] (the “TCEH Plan”) or the Order
Confirming the Third Amended Joint Plan of Reorganization of Energy Future Holdings Corp., et al,
Pursuant to Chapter I] of the Bankruptcy Code as it Applies to the TCEH Debtors and EFH Shared
Services Debtors, dated August 29, 2016 [D.I. 9241] (the “CEH Confirmation Order”), as applicable.

RLFI 18482438v.1
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 2 of 8

professionals’ invoices. The Reorganized TCEH Debtors will donate any recovery to TXU
Energy Aid, which helps approximately 20,000 low income and elderly custorners each year
with bill-payment assistance to keep their homes powered and safe.

Contemporaneously herewith, the Reorganized TCEH Debtors will file the Declaration
of Bryan M. Stephany in Support of the Motion of the Reorganized TCEH Debtors for Entry of
an Order Enforcing the October 3, 2017 Order?

Jurisdiction and Venue

1, This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. § 1334,
the Amended Standing Order of Reference from the United States District Court for the District
of Delaware, dated February 29, 2012; Article XI of the TCEH Plan; paragraph 89 of the TCEH
Confirmation Order; and Travelers Indem. Co. v. Bailey, 557 U.S. 137, 151 (2009) (“[T]he
Bankruptcy Court plainly [has] jurisdiction to interpret and enforce its own prior orders.”).4

2, This is a core proceeding pursuant to, inter alia, 28 U.S.C. § 157(b). Venue is
proper before the Bankruptey Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory
predicate for the relief sought in this matter is 11 U.S.C. § 105.

Background
3. In the interest of efficiency, the Reorganized TCEH Debtors incorporate by

reference additional background from the Motion of the Reorganized TCEH Debtors for Entry of

3 ‘ :
Exhibits referenced herein are attached to the Stephany Declaration.

* The Reorganized TCEH Debtors confirm their consent, pursuant to rule 7008 of the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of
Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of Delaware
{the “Local Rules”), to entry of a final order by the Court in connection with this Motion to the extent that
it is later determined that the Court, absent consent of the parties, cannot enter final orders or judgments
in connection herewith consistent with Article III of the United States Constitution.

RLF1 18482438v.1
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 3 of 8

an Order Enforcing the TCEH Confirmation Order and Imposing Costs and Fees for the Willful

Disregard of the Same, filed September 22, 2017 [D.L. 11932] (the “Motion to Enforce”),

4, On October 3, 2017, the Court held a hearing on the Motion to Enforce. Although
Plaintiff filed objections to the Motion to Enforce and had notice of the hearing, he failed to
appear. ‘The Reorganized TCEH Debtors presented evidence and argument, and the Court
overruled Plaintiff's objections, granted the Motion to Enforce, and entered the Enforcement
Order. See Oct. 3, 2017 Hr’g Tr. at 25:18-19, 31:21-32:1, 36:22-40:20.

5. Among other things, the Enforcement Order required Plaintiff “to promptly
dismiss with prejudice all [] claims and/or causes of action” against all defendants—except
Experian Information Solutions, Inc. (“Experian”)—in Vance Dotson v. Energy Future Holdings
Corp. d/b/a TXU Energy, et al., Case No. CIV-17-575-D pending in the United States District
Court for the Western District of Oklahoma.

6. On October 5, 2017, counsel to the Reorganized TCEH Debtors and Plaintiffs
counsel of record in the Oklahoma action, Brian L. Ponder, discussed the Enforcement Order.
The Reorganized TCEH Debtors indicated they were hopeful that Plaintiff would comply with
the Enforcement Order without further involvement by this Court.

7, On October 9, 2017, counsel to the Reorganized TCEH Debtors sent a letter to
Mr. Ponder, The letter stated that, if Plaintiff did not comply with the Enforcement Order, the
Reorganized TCEH Debtors would have little choice but to seek appropriate relief from this
Court. See Ex. 1, M. Thompson Letter to B. Ponder (Oct. 9, 2017).

8. On October 12, 2017, Plaintiff filed Vance Dotson’s Motion for Rehearing of

Order Entered October 3, 2017 [D.I. 12048]. Plaintiff repeated arguments from his objections to

RLF1 18482438y.1
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 4of8

the Motion to Enforce and did not raise any new issues. On October 17, 2017, the Court sua

sponte denied the motion for rehearing [D.I. 12072] (the “Reconsideration Order”).

9, The period to appeal the Reconsideration Order expired on November 1, 2017.
See Fed. R. Bankr. P. 8002(a), (b). Plaintiff did not notice an appeal of the Enforcement Order
or the Reconsideration Order,

10. On November 3, 2017, counsel to the Reorganized TCEH Debtors sent a second
letter to Mr. Ponder. See Ex. 2, M. Thompson Letter to B. Ponder (Nov. 3, 2017). To facilitate
Plaintiff's compliance with the Enforcement Order, the Reorganized CEH Debtors provided a
Word version of a draft notice of dismissal with prejudice. Later that day, at Mr. Ponder’s
request, the parties had another call to discuss the matter, and the Reorganized TCEH Debtors
again asked Plaintiff to comply with the Enforcement Order,

11. The Reorganized TCEH Debtors waited four more days for Plaintiff to comply
with the Enforcement Order. On November 7, 2017-~in a final effort to resolve the matter
consensually——counsel to the Reorganized TCEH Debtors sent a third letter to Mr. Ponder. On
November 15, 2017, counsel provided a draft copy of this Motion to Mr. Ponder.

12. In sum, after 44 days, Plaintiff has not complied with the Enforcement Order,
leaving the Reorganized TCEH Debtors with no option but to bring this Motion in an effort to

enforce that order and to stop Plaintiff from violating this Court’s discharge injunction.

Argument
IL This Court Should Find Plaintiff in Civil Contempt of the Enforcement Order.
13. A bankruptcy court has authority to enforce its own orders. Travelers Indem. Co.,
557 U.S. at 151 (*[T]he Bankruptcy Court plainly [has] jurisdiction to interpret and enforce its

own prior orders.”); see also In re Continental Airlines, Inc., 236 B.R. 318, 325 (Bankr. D. Del.

1999) (“It is axiomatic that a court possesses the inherent authority to enforce its own orders.”’).

4

RLFI 18482438v.1
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 5of8

14. —- To that end, the Court may enforce compliance with prior orders. This includes
the power to issue civil contempt orders. See Fernos-Lopez v. United States District Court, 599
F.2d 1087, 1090-91 (1st Cir.), cert. denied, 444 U.S. 931 (1979) (“It was early recognized that
bankruptcy courts are vested with contempt power... . The [BJankruptey [C]ode and rules
provide for punishment of contemptuous conduct which occurs in bankruptcy proceedings.”); Jn
re Lands End Leasing, Inc, 220 B.R, 226, 233 (Bankr. D.N.J. 1998) (“[T]he [bankruptcy] court
has authority to find defendants in contempt of court.”) (citing 11 U.S.C. § 105(a) and Fed. R.
Bankr. P. 9020).

15. To impose a civil contempt order, there must be a showing that (1) a valid order
of the court exists, (2) the contemnors had knowledge of the order, and (3) the contemnors
disobeyed the order. Jd. at 233-34; see also In re Keane, 110 B.R. 477, 482-83 (S.D. Cal. 1990)
(citing authorities). Significantly, no showing of willfulness is required to impose civil contempt
sanctions. Jn re Snider Farms, Inc,, 125 B.R. 993, 997-98 (Bankr. N.D. Ind, 1991); fn re
McLean Indus,, 68 B.R. 690, 701 (Bankr. S.D.N.Y. 1986); In re Crabtree, 39 B.R. 702, 710
(Banker. E.D. Tenn. 1984).

16. First, there is no question that the Enforcement Order is a valid order of this
Court, and the period to appeal has expired. Second, Plaintiff had knowledge of the
Enforcement Order because he filed a motion for rehearing. His counsel, Mr. Ponder, had
knowledge of the Enforcement Order because he received three letters about it and had multiple
telephone conversations with counsel to the Reorganized TCEH Debtors. Third, Plaintiff has
disobeyed the Enforcement Order. It required the prompt dismissal with prejudice of the non-

Experian defendants in the Oklahoma action. Despite 44 days to do so, multiple attempts by the

RLF 1 [8482438y.1]
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 6of 8

Reorganized TCEH Debtors to resolve it consensually, and the expiration of the period to appeal
it, Plaintiff has not complied with the Enforcement Order.

17. The Court may award damages for civil contempt under section 105 of the
Bankruptcy Code. Jn re Swanson, 207 B.R. 76, 79 (Bankr. D.N.J. 1997) (citing 11 U.S.C.
§ 105); see also In re Lands End Leasing, 220 B.R. at 234; In re Baker, 195 B.R. 309, 316
(Bankr. D.N.J. 1996) (“The bankruptcy court has the power to sanction parties for contempt.”)

18. Monetary sanctions are an appropriate tool to “enforce compliance with a court
order and to compensate a party damaged by a violation of that order.” Jn re Swanson, 207 B.R.
at 79; In re Prommis Holdings, LEC, No. 13-10551 (Bankr. D. Del. Apr. 15, 2014) (BLS) [D.1.
903] (granting motion to enforce plan injunction and awarding attorneys’ fees incurred in
dismissing enjoined action and prosecuting enforcement motion); Jn re Kennedy, 80 B.R. 673
(Bankr. D. Del, 1987) (awarding attorneys’ fees incurred in bringing motion for contempt); Jn re
Ritchey, 512 B.R. 847, 859, 872 (Bankr. S.D. Tex. 2014) (awarding monetary sanctions despite
attorney’s assertions that “he is not a bankruptcy attorney and was unaware of the effect of the
discharge” and awarding $13,431.69 “as a form of sanctions for Ductwork’s violation of the
Discharge Order.”). See also Oct. 3, 2017 Hr’g Tr. at 40:14-16 (Sontchi, J.) (“So he’s had two
shots, and he doesn’t get any more---any further violation [of] the injunction will result in the
awarded fees.”).

19. Here, a monetary sanction is appropriate because Plaintiff's willful disregard of
this Court’s Enforcement Order has necessitated further litigation—at the expense of this Court
and the Reorganized TCEH Debtors. A monetary sanction will also serve as an important

reminder and deterrent to those, like Plaintiff, who seek to flout this Court’s orders.

RLF! 18482438v.1
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 7 of 8

20. The Reorganized TCEH Debtors will donate any recovery to TXU Energy Aid,
which helps approximately 20,000 low income and elderly customers each year with bill-
payment assistance to keep their homes powered and safe. The Energy Aid Program is the
largest bill-payment assistance program among electricity providers in the nation.

Notice

21. The Reorganized TCEH Debtors shall provide notice of this Motion on the date
hereof via overnight delivery to Plaintiff and counsel to Plaintiff in the Oklahoma action. The
Reorganized TCEH Debtors shall provide notice of this Motion on the date hereof via U.S. first-
class mail to the (a) Office of the United States Trustee for the District of Delaware and (b) those
parties that have requested notice in these chapter 11 cases pursuant to Bankruptcy Rule 2002
and Local Rule 2002-1(b). The Reorganized TCEH Debtors submit that, in light of the nature of
the relief requested, no other or further notice need be given,

Conclusion

The Reorganized TCEH Debtors respectfully request that the Court enter the Order,
substantially in the form attached hereto as Exhibit A, granting the relief requested in this
Motion and such other and further relief as is appropriate under the circumstances.

[Remainder of page intentionally left blank. |

RLF1 18482438v.1
Case 14-10979-CSS Doc12240 Filed 11/16/17 Page 8 of 8

Dated: November 16, 2017
Wilmington, Delaware

RLF1 18482438v.1

ac

YTON & FINGER, P.A.
Mark D. Collins . 2981)

Daniel J. DeFranceschi (No. 2732)

Jason M. Madron (No. 4431)

920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700

Facsimile: (302) 651-7701

Email: collins@rlf.com
defranceschi@rlf.com
madron@rlf.com

-and-

KIRKLAND & ELLIS LLP

KIRKLAND & ELLIS INTERNATIONAL LLP

Edward O. Sassower, P.C. (admitted pro hac vice)

Stephen E. Hessler, P.C. (admitted pro hac vice)

Brian E. Schartz (admitted pro hac vice)

Aparna Yenamandra (admitted pro hac vice)

601 Lexington Avenue

New York, New York 10022-4611

Telephone: (212) 446-4800

Facsimile: (212) 446-4900

Email: edward.sassower@kirkland.com
stephen. hessler@kirkland.com
brian, schartz@kirkland.com
aparna.yenamandra@kirkland.com

-and-

James H.M. Sprayregen, P.C. (admitted pro hac vice)

Marc Kieselstein, P.C. (admitted pro hac vice)

Chad J. Husnick, P.C. (admitted pro hac vice)

Steven N. Serajeddini (admitted pro hac vice)

300 North LaSalle

Chicago, Illinois 60654

Telephone: (312) 862-2000

Facsimile: (312) 862-2200

Email: james.sprayregen@kirkland.com
marc. kieselstein@kirkland.com
chad.husnick@kirkland.com
steven.serajeddini@kirkland.com

Co-Counsel to the Reorganized TCEH Debtors

8
